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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

 ABBOTT DIABETES CARE INC. and                   )
 ABBOTT DIABETES CARE LIMITED,                   )
                                                 )
                       Plaintiffs,               )
                                                 )
            v.                                   )     Civil Action No. 21-977 (KAJ)
                                                 )
 DEXCOM, INC.,                                   )
                                                 )
                       Defendant.                )

                              AMENDED SCHEDULING ORDER

       At Wilmington, this 12th day of October, 2023;

       IT IS ORDERED that:

       1.        Briefing on any renewed Daubert motion relating to the report and

proposed testimony of Catherine Lawton, shall be completed on or before January 4,

2024. The parties shall jointly submit a proposed briefing schedule by October 16, 2023.

       2.        Pretrial Conference. On February 5, 2024, the Court will hold a Final

Pretrial Conference in Chambers with counsel beginning at 10:00 a.m. Unless otherwise

ordered by the Court, the parties should assume that filing the revised joint pretrial order

satisfies the pretrial disclosure requirement of Federal Rule of Civil Procedure 26(a)(3).

The parties shall file with the Court the revised joint proposed final pretrial order on or

before January 4, 2024.

       3.        Motions in Limine. Motions in limine shall not be separately filed. All in

limine requests and responses thereto shall be set forth in the revised proposed kpomt
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 pretrial order. Each party shall be limited to three in limine requests (the Court having

 already heard arguments on two in limine motions from each side), unless otherwise

 permitted by the Court. Each in limine request and any response shall contain the

authorities relied upon; each in limine request may be supported by a maximum of 1,750

words of argument and may be opposed by a maximum of 1,750 words of argument. No

separate briefing shall be submitted on in limine requests, unless otherwise permitted by

the Court.

       4.    Jury Instructions, Voir Dire, and Special Verdict Forms. Any changes to the

previously filed proposed voir dire, instructions to the jury, and special verdict form and

jury interrogatories shall be submitted no less than three full business days before the

final pretrial conference.

       5.     Trial. This matter is scheduled for a IO-day jury trial beginning at 9:30

a.m. on March 11, 2024, with the subsequent trial days beginning at 9:00 a.m. For the

purpose of completing pretrial preparations, counsel should plan on each side being

allocated a total of22 hours to present their case.




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